      Case: 12-16373, 09/14/2012, ID: 8324956, DktEntry: 5-1, Page 1 of 3




                                No. 12-16373
                 UNITED STATES COURT OF APPEALS
                        FOR THE NINTH CIRCUIT


  In re: APPLICATION FOR EXEMPTION FROM ELECTRONIC PUBLIC
    ACCESS FEES BY JENNIFER GOLLAN AND SHANE SHIFFLETT,


               JENNIFER GOLLAN; SHANE SHIFFLETT,
                           Applicants-Appellants.


              On Appeal from the United States District Court
                  for the Northern District of California
                       D.C. No. 3:12-mc-80113-JW
                         (Honorable James Ware)
        __________________________________________________
      APPLICANT-APPELLANTS’ SUPPLEMENT TO MOTION
          TO EXTEND TIME TO FILE OPENING BRIEF;
    SUPPLEMENTAL DECLARATION OF ROCHELLE L. WILCOX
       __________________________________________________
THOMAS R. BURKE (SB# 141930)              JUDY ALEXANDER (SB# 116515)
 thomasburke@dwt.com                       jalexander@judyalexander.com
ROCHELLE L. WILCOX (SB# 197790)           2302 Bobcat Trail
 rochellewilcox@dwt.com                   Soquel, CA 95073
DAVIS WRIGHT TREMAINE LLP                 Telephone: (831) 462-1692
505 Montgomery Street, Suite 800
San Francisco, California 94111
Telephone: (415) 276-6500
Facsimile: (415) 276-6599
                  Attorneys for Applicants-Appellants
              JENNIFER GOLLAN and SHANE SHIFFLETT




                                      1
         Case: 12-16373, 09/14/2012, ID: 8324956, DktEntry: 5-1, Page 2 of 3




         SUPPLEMENT TO MOTION FOR EXTENSION OF TIME

      Come now Applicants-Appellants Jennifer Gollan and Shane Shifflett

(“Appellants”), and respectfully submit the attached Supplemental Declaration of

Rochelle L. Wilcox in support of Appellants’ Motion for Extension of Time to File

Opening Brief. Pursuant to Circuit Rule 31-2.2(b)(6), Appellants represent to the

Court that on September 14, 2012, an assistant to the Honorable Claudia Wilkins,

Chief Judge of the District Court for the Northern District of California, advised

Appellants’ counsel that the Court does not oppose the extension of time that

Appellants seeks to file their Opening Brief. Supp. Wilcox Decl. ¶ 2. Thus,

Appellants respectfully request that the Court grant their requested extension of

time, until October 22, 2012, to file their Opening Brief.

      RESPECTFULLY SUBMITTED this 14th day of September, 2012.

                                       LAW OFFICES OF JUDY ALEXANDER
                                       JUDY ALEXANDER

                                       DAVIS WRIGHT TREMAINE LLP
                                       THOMAS R. BURKE
                                       ROCHELLE L. WILCOX

                                       By /s/ Thomas R. Burke
                                                 Thomas R. Burke

                                       Attorneys for Applicants-Appellants
                                       JENNIFER GOLLAN and SHANE SHIFFLETT




                                          2
           Case: 12-16373, 09/14/2012, ID: 8324956, DktEntry: 5-1, Page 3 of 3




                  DECLARATION OF ROCHELLE L. WILCOX
      I, Rochelle L. Wilcox, declare:

      1.       I am an attorney admitted to practice before the courts of the State of

California and before this Court. I am a partner in the law firm of Davis Wright

Tremaine LLP, and am one of the attorneys representing Applicants-Appellants

JENNIFER GOLLAN and SHANE SHIFFLETT (“Appellants”) in this matter. I

have personal knowledge of the matters stated below. I submit this declaration

pursuant to Circuit Rule 31-2.2(b) in support of Appellants’ motion for an

extension of the date that its opening brief is due in this appeal.

      2.       On September 14, 2012, at approximately 9:15 a.m., I received a call

from Uyen Trinh, who I understand to be an assistant to the Honorable Claudia

Wilkins, Chief Judge of the United States District Court for the Northern District

of California. Ms. Trinh informed me that Judge Wilkins does not oppose the

extension of time that Appellants are seeking to file their Opening Brief. She then

followed-up with an email confirming that the Court has no objection to the

requested extension of time.

      I declare under penalty of perjury under the laws of the United States of

America that that this declaration was executed on 14th day of September, 2012 at

Roseville, California and that the foregoing is true and correct.

                                                /s/ Rochelle L. Wilcox_____________
                                                Rochelle L. Wilcox


                                            3
